Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 1 of 47 PageID: 554



                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


 ARTEM V. GELIS, BHAWAR PATEL,
 ROBERT MCDONALD, JAMES V. OLSON,
 GREGORY HEYMAN, SUSAN HEYMAN,
 DEBRA P. WARD, DARRIAN STOVALL,
 ALEX MARTINEZ, AMANDA GOREY,
 CHRIS WILLIAMS, ASHOK PATEL,
 KENNETH GAGNON, MICHAEL CERNY,
 ERHAN ARAT, ANDRE MALSKE, CRAIG
 LASH, NICOLE GUY, DAVID
 RICHARDSON, KAREN HENDERSON and
 ERIC T. ZINN,
 individually and on behalf of all others   Civil Action No. 17-cv-7386 WHW-CLW
 similarly situated,

      Plaintiffs,

 v.

 BAYERISCHE MOTOREN WERKE
 AKTIENGESELLSCHAFT AND BMW
 OF NORTH AMERICA, LLC.,


      Defendants.



                        PLAINTIFFS’ MEMORANDUM OF LAW IN
                    OPPOSITION TO DEFENDANT’S MOTION TO DISMISS


                                       Gary S. Graifman, Esq.
                                       Jay I. Brody, Esq.
                                       KANTROWITZ, GOLDHAMER
                                       & GRAIFMAN, P.C.
                                       210 Summit Avenue
                                       Montvale, New Jersey 07645
                                       Tel: (201) 391-7000

                                       Attorneys for Plaintiffs

                                       [Additional Counsel on Signature Page]
Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 2 of 47 PageID: 555



                                                   TABLE OF CONTENTS

 PRELIMINARY STATEMENT................................................................................................. 1

 STATEMENT OF FACTS.......................................................................................................... 1

 STANDARD OF REVIEW FOR FED. R. CIV. P. 12(b)(6) MOTIONS................................... 6

           A. Plausibility Pleading Requirements Of Fed. R. Civ. P. 8.......................................... 6

           B. Specificity Pleading Requirements Of Fed. R. Civ. P. 9(6)...................................... 6

 ARGUMENT............................................................................................................................... 8

      POINT I: BMW’S WARRANTY EXTENSION IS INSUFFICIENT
               TO PROTECT CLASS VEHICLE OWNERS FROM EXPENSIVE
               FUTURE REPAIRS OR PROVIDE ADEQUATE REIMBURSEMENT........ 8

      POINT II: THE COURT SHOULD NOT DECIDE AT THIS STAGE
                 WHETHER NEW JERSEY LAW MAY APPLY TO ALL CLAIMS............. 9

                       A. It Is Premature To Consider Whether A Nationwide
                          Breach Of Warranty Claim Is Appropriate.................................................. 11

                      B. It Is Premature To Determine Now Whether The New Jersey
                         Consumer Fraud Act (“NJCFA”) Will Apply To A Nationwide................. 12

                      C. A Similar Analysis Should Be Applied To Plaintiffs’ Negligent
                         Misrepresentation And Unjust Enrichment Claims Since The Choice
                         of Law Determination Would Be Premature............................................... 13

      POINT III: PLAINTIFFS STATE VALID WARRANTY CLAIMS................................. 14

           A. Plaintiffs Have Asserted Valid Express Warranty Claims....................................... 14

           B. Plaintiffs Have Asserted Valid Implied Warranty Claims....................................... 16

      POINT IV: ALL PLAINTIFFS STATE A CLAIM UNDER
                THE MAGNUSON-MOSS WARRANTY ACT............................................. 18


      POINT V: THE COMPLAINT’S STATE CONSUMER PROTECTION COUNTS
                SATISFY THE SPECIFICITY REQUIREMENTS OF RULE 9(b).............. 20
                                                                      i
Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 3 of 47 PageID: 556



      POINT VI: PLAINTIFFS’ NEGLIGENT MISREPRESENTATION CLAIMS
                MAKE PLAUSIBLE ALLEGATIONS OF NEGLIGENT
                MISREPRESENTATIONS OF MATERIAL FACTS CONCERNING
                ATTRIBUTES OF THE CLASS ENGINE CHAIN ASSEMBLIES............. 26

                        A. The CAC Alleges Defendants Had Exclusive And Superior
                           Knowledge Of The Chain Assembly Defects And, As Such,
                           Owed A Duty Of Disclosure To Class Vehicle Purchasers...................... 27

      POINT VII: PLAINTIFFS' UNJUST ENRICHMENT CLAIMS
                 ARE PROPERLY PLED............................................................................... 29

      POINT VIII: PLAINTIFFS ASSERT VALID CLAIMS FOR
                  DECLARATORY AND INJUNCTIVE RELIEF......................................... 31

      POINT IX: BMW’S ARGUMENTS ON VARIOUS CLAIMS
                MUST BE REJECTED AT MOTION TO DISMISS STAGE....................... 32

                              A. The Claims Of Gelis, Henderson, And Lash Should Survive............. 32

                              B. The Claims Of Zinn and Richardson Should Not Be Dismissed........ 33

                              C. Malske Has Adequately Stated A Claim Under Wisconsin
                                 Deceptive Trade Practices Act............................................................ 34

                              D. Stovall’s Claim Under The Alabama Deceptive Trade
                                 Practices Act Should Not Be Dismissed............................................. 34

 CONCLUSION.......................................................................................................................... 35




                                                                     ii
Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 4 of 47 PageID: 557



                                               TABLE OF AUTHORITIES

 CASES

 Agostino v. Quest Diagnostics Inc.,
        256 F.R.D. 437 (D.N.J. 2009)........................................................................................ 13

 Arlandson v. Hartz Mt. Corp.,
        792 F.Supp.2d 691 (D.N.J. 2011).............................................................................10, 13

 Arons v. Rite-Aid Corp.,
        2005 WL 975462 (N.J. Super. Mar. 23, 2005)............................................................... 11

 Aronstein v. Mass. Mut. Life Ins. Co.,
        2016 WL 1626835 (D. Mass. Apr. 22, 2016).................................................................29

 Ashcroft v. Iqbal,
        556 U.S. 662 (2009)................................................................................................ 6, 8, 35

 Barcal v. EMD Serono, Inc.,
        2016 WL 1086028 (N.D. Ala. Mar. 21, 2016)............................................................... 34

 Bell Atlantic Corp. v. Twombly,
         550 U.S. 554 (2007)............................................................................................... 6, 8, 35

 Carter v. L’Oreal USA, Inc.,
        2017 WL 3891666 (S.D. Ala. Sept. 6, 2017)........................................................... 29, 35

 Chavis v. Fidelity Warranty Services, Inc.,
        415 F.Supp.2d 620 (D.S.C. 2006).................................................................................. 19

 Chin v. Chrysler Corp.,
        182 F.R.D. 448 (D.N.J. 1998)............................................................................... 9, 10, 11

 Cleary v. Philip Morris, Inc.,
        656 F.3d 511 (7th Cir. 2011).......................................................................................... 31

 Clemens v. DaimlerChrysler Corp.,
       534 F.3d 1017 (9th Cir. 2008)........................................................................................ 19




                                                                  3
Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 5 of 47 PageID: 558



 Collins v. Davol, Inc.,
        56 F.Supp.3d 1222 (N.D. Ala. 2014)............................................................................. 34

 Collins v. Sears, Roebuck and Co.,
        31 Mass. App. Ct. 961 (Mass. App. Ct. 1992)............................................................... 18

 Contino v. BMW of N. Am., LLC,
        2008 WL 2940515 (D.N.J. July 29, 2008)..................................................................... 30

 Cooper v. Samsung Elecs. Am., Inc.,
       374 F. App'x 250 (3d Cir. 2010).................................................................................... 10

 Craftmatic Sec. Litig. v. Kraftsow,
       890 F.2d 628 (3d Cir. 1989)............................................................................................ 7

 Dewey v. Volkswagen,
       558 F.Supp.2d 505 (D.N.J. 2008)...................................................................................22

 Elias v. Ungar's Food Prod., Inc.,
         252 F.R.D. 233 (D.N.J. 2008).................................................................................... 12, 13

 Epstein v. C.R. Bard, Inc.,
        460 F.3d 183 (1st Cir. 2006)............................................................................................ 7

 Falco v Nissan North America, Inc.,
        2013 WL 5575065 (C.D. Ca. Oct. 10, 2013)................................................................. 17

 Falk v. Nissan N.A., Inc.,
         2018 WL 2234303 (N.D.Ca. May 16, 2018)..................................................................32

 Feldman v. Mercedes–Benz USA, LLC,
       2012 WL 6596830 (D.N.J. Dec. 18, 2012).................................................................... 24

 Fiberglass Component Prod., Inc. v. Reichhold Chemicals, Inc.,
        983 F. Supp. 948 (D. Colo. 1997).................................................................................. 33

 Francis E. Parker Mem'l Home, Inc. v. Georgia-Pac. LLC,
         945 F. Supp. 2d 543 (D.N.J. 2013)................................................................................33




                                                                  4
Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 6 of 47 PageID: 559



 Frederico v. Home Depot,
        507 F.3d 188 (3d Cir. 2007)............................................................................................ 7

 Goldemburg v. J&J Consumer Cos.,
       8 F. Supp.3d 467 (S.D.N.Y. 2014)................................................................................ 29

 Greene v BMW of N. Am.,
       2013 WL 5287314 (D.N.J. Sept. 17, 2013).................................................................... 17

 Green v. Green Mountain Coffee Roasters, Inc.,
        279 F.R.D. 275 (D.N.J. 2011)........................................................................................ 33

 Harper v. LG Electronics USA, Inc.,
       595 F.Supp.2d 486 (D.N.J. 2009)...................................................................................10

 Henderson v. Volvo Cars of North America, LLC.,
       2010 WL 2925913 (D.N.J. 2010)................................................................................... 23

 In re Blumer v. Acu-Gen Biolabs, Inc.,
         638 F.Supp.2d 81 (D. Mass. 2009)............................................................................... 19

 In re Burlington Coat Factory Securities Litigation,
        114 F.3d 1410 (3rd Cir.1997)......................................................................................... 23

 In re Flash Memory Antitrust Litigation,
         643 F.Supp.2d 1133 (N.D. Cal. 2009).......................................................................... 29

 In re Ford Motor Co. E-350 Van Products Liab. Litig. (No. II),
        2008 WL 4126264 (D.N.J. Sept. 2, 2008)................................................................. 16, 17

 In re Ford Motor Co. Ignition Switch Prods. Liab. Litig.,
        2001 WL 1266317 (D.N.J. Sept.30, 1997)..................................................................... 17

 In re Ford Motor Co., United Techs. Auto., Inc.,
        174 F.R.D. 332 (D.N.J. 1997)............................................................................ 10, 11, 16

 In re Gen. Motors LLC Ignition Switch Litig.,
        257 F. Supp. 3d 372 (S.D.N.Y. 2017)............................................................................ 34




                                                                 5
Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 7 of 47 PageID: 560



 In re K—Dur Antitrust Litigation,
        338 F.Supp.2d 517 (D.N.J.2004)............................................................................. passim

 In re Mercedes-Benz Tele Aid Contract Litigation,
        257 F.R.D. 46 (D.N.J. 2009)...................................................................................... 12, 13

 In re MyFord Touch Consumer Litig.,
        46 F.Supp.3d 936 (N.D.Cal. 2014).............................................................................. 29

 In re Porsche Cars N. Am., Inc.,
        880 F. Supp.2d 801 (S.D. Ohio 2012)............................................................................ 20

 In re Saturn L-Series Timing Chain Prods. Liab. Litig.,
         MDL No. 1920, 2008 WL 4866604 (D. Neb. Nov. 7, 2008)......................................... 22

 In re Volkswagen Timing Chain Product Liability Litig.,
        2017 WL 1902160 (D.N.J. May 8, 2017)................................................................ passim

 Kalow & Springut, LLP v. Commence Corp.,
       2012 WL 6093876 (D.N.J. Dec. 7, 2012)...................................................................... 13

 Karu v. Feldman,
        119 N.J. 135 (1990)........................................................................................................ 26

 Kuney Int’l, S.A. v. DiIanni,
        746 F. Supp. 234 (D.Mass. 1990).................................................................................... 7

 Leaf Fin. Corp. v. Carroll,
        2009 WL 112567 (D.Mass. Jan.16, 2009)..................................................................... 15

 Linthicum v. Archambault,
        379 Mass. 381, 398 N.E. 482 (1979)..............................................................................26

 Lipinski v. Martin J. Kelly Oldsmobile, Inc.,
        325 Ill. App. 3d 1139 (Ill. App. Ct. 2001)..................................................................... .17

 Lisk v. Lumber One Wood Preserving, LLC,
         792 F.3d 1331 (llth Cir. 2015)...................................................................................... 34




                                                                    6
Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 8 of 47 PageID: 561



 Lum v. Bank of Am.,
        361 F.3d 217 (3d Cir. 2004)............................................................................................ 7

 Majdipour v. Jaguar Land Rover N. Am., LLC,
       2013 WL 5574626 (D.N.J. Oct. 9, 2013)................................................................. 18, 28

 Maniscalco v. Brother Int'l (USA) Corp.,
       709 F.3d 202 (3d Cir.2013)................................................................................ 12, 23, 30

 Marcus v. Anderson/Gore Homes, Inc.,
       498 So. 2d 1051 (Fla. Dist. Ct. App. 1986).................................................................... 18

 Marcus v. BMW of N. Am., LLC,
       2010 WL 4853308 (D.N.J. Nov. 19, 2010).................................................................... 11

 McCalley v. Samsung Electronics America, Inc.,
       2008 WL 878402 (D.N.J. Mar. 31, 2008)...................................................................... 19

 McGee v. Cont. Tire N. Am., Inc.,
      2007 WL 2462624 (D.N.J. Aug. 27, 2007).................................................................... 19

 McGuire v. BMW of N. Am., LLC,
       2014 WL 2566132 (D.N.J. June 6, 2014)..................................................................11, 13

 Mexia v. Rinker Boat Co., Inc.,
        95 Cal. Rptr. 3d 285 (Cal. Ct. App. 2009)..................................................................... 18

 Montich v. Miele USA, Inc.,
       849 F.Supp.2d 439 (D.N.J. 2012)................................................................................ 24

 Morano v. BMW of N. Am., LLC,
       2013 U.S. Dist. LEXIS 28099 (D.N.J. Mar. 1, 2013).................................................... 31

 Morcom v. LG Elecs. USA, Inc.,
      2017 WL 8784836 (D.N.J. Nov. 30, 2017).................................................................... 13

 Mukamal v. GE Capital Corp. (In re Palm Beach Fin. Partners, L.P.),
      517 B.R. 310 (Bankr. S.D. Fla. 2013)............................................................................ 28




                                                                 7
Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 9 of 47 PageID: 562



 Oscar v. BMW of N. Am., LLC,
        274 F.R.D. 498 (S.D.N.Y. 2011).................................................................................... 11

 Park v. Inovio Pharms., Inc.,
        2016 U.S. Dist. LEXIS 24993, 2016 WL 796890 (D.N.J. Mar. 1, 2016)...................... 28

 Payne v. FujiFilm U.S.A., Inc.,
        2010 WL 2342388 (D.N.J. May 28, 2010).................................................................... 11

 PB Prop. Mgt., Inc. v. Goodman Mfg. Co., L.P.,
       2013 WL 12172912 (M.D. Fla. Aug. 28, 2013)....................................................... 14, 15

 Pendergast v. Sprint Nextel Corp.,
       592 F.3d 1119 (11th Cir. 2010)...................................................................................... 15

 Powers v. Boston Cooper Corp.,
       926 F.2d 109 (1st Cir 1991)............................................................................................. 7

 Razor v. Hyundai Motor Am.,
        222 Ill. 2d 75 (2006)..................................................................................................14, 15

 Rodriguez-Ortiz v. Margo Caribe, Inc.,
       490 F.3d 92 (1st Cir. 2007)........................................................................................... 6, 7

 Saltiel v. GSI Consultants, Inc.,
         170 N.J. 297 (2002)........................................................................................................ 27

 Samsung DLP Television Class Action Litigation,
       2009 WL 3584352 (D.N.J. Oct. 27, 2009)..................................................................... 10

 Seville Indus. Mach. Corp. v. Southmost Mach. Corp.,
         742 F.2d 786 (3d Cir. 1984)...................................................................................... 7, 24

 Shady Grove Orthopedic Associates, P.A. v. Allstate Insurance Co.,
       559 U.S. 393, 130 S. Ct. 1431, 176 L. Ed. 2d 311 (2010)............................................. 34

 Sheehy v. Lipton Industries, Inc.,
        24 Mass. App. Ct. 188, 507 N.E.2d 781 (1987)............................................................. 26




                                                                    8
Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 10 of 47 PageID: 563



 Sheris v Nissan N. Am. Inc.,
         2008 WL 2354908 (D.N.J. June 3, 2008)...................................................................... 17

 Shersher v. Superior Court,
        154 Cal.App.4th 1491 (Cal.Ct.App. 2007).................................................................... 30

 Siegel v. Shell Oil,
         612 F.3d 932 (7th Cir. 2010).......................................................................................... 31

 Skeen v. BMW of N. Am., LLC,
        2014 WL 283628 (D.N.J. Jan. 24, 2014)................................................................. passim

 Smith v. Citimortgage, Inc.,
        2015 WL 12734793 (D.N.J. Dec. 22, 2015).................................................................. 29

 Snodgrass v. Ford Motor Co.,
       2002 WL 485688 (D.N.J. Mar. 28, 2002)...................................................................... 17

 Snyder v. Farnam Companies, Inc.,
        792 F. Supp. 2d 712 (D.N.J. 2011).................................................................................13

 Stewart v. Beam Global Spirits & Wine, Inc.,
        877 F. Supp. 2d 192 (D.N.J. 2012)................................................................................ 30

 Sullivan v. DB Investments,
        667 F.3d 273 (3d Cir.2011)............................................................................................. 8

 Toys “R” Us, Inc. v. Step Two, S.A.,
       318 F.3d 446 (3d Cir. 2003)............................................................................................ 6

 United Techs. Auto., Inc.,
        174 F.R.D. 332 (D.N.J. 1997)........................................................................................ 11

 Urman v. South Boston Savings Bank,
       424 Mass. 165, 674 N.E.2d 1078, 1081 (1997)..............................................................26

 U.S. Bank N.A. v. Sofield,
        2017 WL 2569740 (W.D.N.C. June 13, 2017)...............................................................29




                                                                  9
Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 11 of 47 PageID: 564



 V.S.H. Realty, Inc., v. Texaco, Inc.,
        757 F.2d 411, 417 (1st Cir. 1985).................................................................................. 25

 W. Ridge Grp., LLC v. First Trust Co. of Onaga,
        414 Fed. App’x 112 (10th Cir. 2011)............................................................................ 29

 Weske v. Samsung Elecs., Am., Inc.,
       934 F. Supp. 2d 698 (D.N.J. 2013).................................................................................. 7

 RULES

 Fed. R. Civ. P. 8(a)(2)................................................................................................................ 35

 Fed. R. Civ. P. 8(d)(2)................................................................................................................ 29

 Fed. R. Civ. P. 8(d)(3).......................................................................................................... 29, 34

 Fed. R. Civ. P. 9(b)............................................................................................................. passim

 STATUTES

 15 U.S.C. §§ 41-58..................................................................................................................... 25

 15 U.S.C. § 2310.................................................................................................................. 18, 19

 FED. PRACTICE & PROCEDURE § 9.03[1][e] (3d ed. 2010)................................................. 7

 Mass. Gen. L. ch. 93A................................................................................................................ 25

 Mass. Regs. Code tit. 940, § 3.16(4) (1993).............................................................................. 25

 N.Y. Gen. Bus. Law §349...................................................................................................... 6, 26

 Uniform Commercial Code § 2-302........................................................................................... 14




                                                                     10
Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 12 of 47 PageID: 565


                                   PRELIMINARY STATEMENT

       Car manufacturers engage in multiple levels of pre-production studies, field inspections and

component analysis. They possess substantial knowledge about potential defects and safety issues that

are beneath the hood of their vehicles even before the consumer drives them off the lot. Unfortunately,

as recent news and case law demonstrate, it has become all too common an occurrence for

manufacturers to ignore or conceal potentially dangerous defects they are cognizant of before their

vehicles are sold or prior to the warranty running its course once the vehicle is purchased. Many of

these defects involve potential safety risks as here. Courts no longer allow manufacturers to shirk their

duties at the expense of the public by simply saying the clock has run on the warranty when the

manufacturer is aware of potential safety defects prior to purchase or warranty expiration. State

consumer protection laws are designed to protect consumers from concealment of such material

information and dishonest conduct. This case involves the engine chain assemblies in class vehicles,

internal engine components that defendants claimed were manufactured to last the life of the car.

However, these class engine chain assemblies were known to be defective by defendants early in class

engine production. 1

                                      STATEMENT OF FACTS

       BMW of North America, LLC (hereinafter “BMW NA” or “defendant”) and Bayerische

Motoren Werke Aktiengesellschaft (hereinafter “BMW AG”) (jointly referred to as “defendants” or

“BMW”) withheld material disclosures concerning primary and secondary class engine chain

assemblies known to the defendants to be defective and used in BMW vehicles manufactured and sold




1
  Plaintiffs and members of the proposed classes request monetary damages, including multiple
damages where applicable, court costs, injunctive relief, and attorney fees against each of the
respective BMW entities based upon their breach of express warranty, breach of implied warranty,
misrepresentation, unfair and deceptive business practices under the laws of New Jersey, Illinois,
Florida, Utah, New York, Colorado, Texas, Alabama, Oklahoma, Massachusetts, California,
Wisconsin, Oregon, North Carolina, unjust enrichment and the Magnuson-Moss Warranty Act.
Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 13 of 47 PageID: 566


in the United States from 2012 through and including 2015.2 The defendants introduced class engines

in the United States market in late 2011 for the 2012 model year. Class engines are predisposed to

premature chain assembly system failures. Consolidated Amended Class Action Complaint And Jury

Trial Demand (hereinafter “CAC”) ¶¶ 2-5. Class vehicles are defective with respect to the chain

assembly that subjects class engines to unanticipated loss of power and/or catastrophic engine failure.

Class vehicles are further defective since the vehicles were accompanied by an Owner’s Manual and

Service and Warranty Information materials that did not incorporate chain assembly inspection,

maintenance and/or service intervals. CAC ¶ 6.        Defendants falsely and/or negligently led class

vehicle purchasers to believe by the maintenance schedules and other materials that the chain

assemblies would not need to be replaced until a minimum of 150,000 miles. CAC ¶¶ 7, 62, 76, 82,

145, 168.

       When a primary or secondary class engine chain assembly fails, the engine immediately loses

power, stalls and/or seizes. CAC ¶¶ 2-5 (describing chain assembly failure modes and consequences

resulting from collisions of internal engine components and absence of lubrication). Unanticipated

chain assembly failures present a substantial safety hazard for vehicle occupants and other motorists

particularly on crowded roadways or limited access highways since there is the risk of loss of engine

power without warning and loss of power-assisted steering and reduced braking caused by lack of

engine vacuum if the engine stalls. CAC ¶¶ 4, 40, n.12. In class vehicles equipped with manual

transmissions, the drive wheels will lock and cause loss of directional stability and steering if the

engine stalls and the clutch is not immediately disengaged. CAC ¶ 4. Plaintiffs’ respective vehicles

experienced unanticipated (and very expensive repair) engine failure. CAC ¶¶ 13, 174.


2
  This class action concerns itself with the primary and secondary engine chain assemblies. The
primary chain assembly is comprised inter alia of camshaft and crankshaft sprockets, primary (timing)
chain, hydraulic chain tensioner, tensioning rails and chain rails. The secondary chain assembly
consists of the crankshaft and counterbalance shaft sprockets, oil pump drive chain, pump drive
sprocket, chain tensioner and integrated guide and tensioner rails. These assemblies are depicted in
Figure 1 and 3 of the CAC.
                                                  2
Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 14 of 47 PageID: 567


       The Service and Warranty Information materials accompanying class vehicles do not contain

any maintenance or service information for the chain assemblies. The class engine chain assemblies

are reasonably expected by the defendants, the proposed class representatives and proposed class

members to last the serviceable life of the vehicle that is in excess of 150,000 miles in a modern well-

constructed passenger automobile. 3 CAC ¶¶ 6-7, n.4.       Despite this legitimate expectation, chain

assemblies in class vehicles often fail at less than 50% of their reasonably expected useful life. 4

Moreover, after experiencing a failure of the chain assembly, other engine components are damaged.

Premature class engine chain assembly failures cost between $4,500.00 and $22,000.00 to remedy by

installing new chain assemblies and/or a replacement engine. Individuals who own or have owned

class vehicles also sustained diminution of the resale value of their class vehicles since knowledge of

problems with class engine chain assemblies eventually became public information. CAC ¶¶ 8, 98.

       The complaint alleges that defendants acquired knowledge shortly after class engine production

commenced that the class vehicles’ chain assemblies would prematurely fail. CAC ¶¶ 30-33, 38, 53,

192.5 There is substantial evidence alleged demonstrating defendants’ early knowledge of class engine



3
  Defendants’ own Service and Warranty Information materials accompanying class vehicles, other
predecessor engines manufactured by the defendants and performance of comparable competitor
vehicles demonstrate this proposition. CAC ¶¶ 7, 28, 62, 76, 82, 145, 168. Service and Warranty
Information materials for class vehicles have maintenance schedules that extend to 150,000 miles.
There is no scheduled maintenance or replacement recommended for class engine primary or
secondary chain assemblies during the entirety of this mileage or time period. CAC ¶ 6.
4
  By way of examples, plaintiff Lash’s vehicle’s chain assembly failed at 45K miles; plaintiff Gelis’
vehicle’s chain assembly failed at 65.5K miles; plaintiff Henderson’s vehicle’s chain assembly failed
at 58K miles; plaintiff Bhawar Patel’s vehicle’s chain assembly failed at 71K miles; and, plaintiff
Ashok Patel’s vehicle’s chain assembly failed at 72.7K miles. CAC ¶ 13.
5
  Aside from complaints to the National Highway Safety Administration (hereinafter “NHTSA”)
(which BMW, NA was legally required to monitor and respond), the defendants’ knowledge of class
engine chain assembly defects was derived from monitoring warranty claims, field investigations, root
cause failure analysis, claims supervisors, customer complaints and monitoring of performance of class
vehicles by BMW NA quality assurance employees, the number of replacement components and
subsequent component revisions would have placed the defendants on notice of class vehicle defects.
Knowledge of class vehicle defects is further imputed to the defendants prior to sale of certain model
                                                   3
Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 15 of 47 PageID: 568


chain assembly defects. First, BMW AG sought to remedy chain assembly defects by redesigning and

upgrading components and materials multiple times since the initial introduction of class vehicles for

sale in late 2011. The secondary chain has been redesigned twice and has been assigned part numbers

11417605366, 11417602646 and 11418651102. CAC ¶¶ 5, 34. See also CAC Figure 4 for a visual

depiction of one modification.

       Second, defendants also revised the primary chain, primary chain tensioner and primary chain

guide/rails incorporated in class engines multiple times in an effort to correct system deficiencies that

were causing catastrophic engine failure. The revised primary chain tensioner has increased piston

travel, a longer housing and a stronger internal spring to better regulate primary chain tension and

decrease the incidence of primary chain assembly failure. The primary chain tensioners have been

assigned part numbers 11317567680 (original tensioner design) and 11318685091 (revised tensioner

design). CAC ¶ 33. See also CAC Figure 2 for a depiction of primary chain tensioner and subsequent

modification.

       Third, in 2014, BMW modified its 15,000 mile / 24 month Condition Based Service engine oil

change intervals. For all BMW 2014+ models, the new basic engine oil change interval is 10,000

miles / 12 months. CAC n.3. Both of these engine oil change intervals are excessive in duration and

are a substantial contributing cause of premature engine chain assembly failures. Id.

       Fourth, because defendants are under a legal obligation to monitor defects that may cause

safety issues and report them to the NHTSA within five (5) days, the defendants assiduously monitor

the NHTSA–ODI website and the complaints filed there in order to comply with their reporting

obligations under federal law. CAC ¶¶ 40, 49.

       Fifth, BMW maintains departments at its United States New Jersey headquarters that track

issues with products at launch and in the field. CAC ¶ 170. For example, BMW has a Warranty


year class vehicles because predecessor models using identical chain assembly components were also
prematurely failing within their reasonably expected life. CAC ¶¶ 17, 38-40, 53, 72, 170.
                                                   4
Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 16 of 47 PageID: 569


Optimization Section in its Warranty Department which tracks warranty data for various parts in the

class vehicles, including the subject class engines, to determine failure rates and perform root cause

analysis. BMW warranty specialists analyze warranty data available to personnel at the United States

headquarters. BMW also has a Launch Viability Function Integration section whose responsibilities in

the United States include extensive pre-launch testing of vehicles. Another BMW organizational

department includes engineers who inspect and analyze defects and failures as they occur in the field.

CAC ¶ 170.

       In sum, the complaint adequately and plausibly alleges that defendants actively concealed the

true reasonably expected duration of class engine chain assemblies and the cause of premature chain

failures from the proposed class representatives and all class vehicles purchasers. The defendants

intentionally failed to inform class vehicle purchasers that class vehicles incorporated defective and/or

improperly tested chain assemblies that would prematurely fail within the reasonably expected

durational operating period. CAC ¶¶ 61-68.

       In recognition of these engine defects, and as an admission of their existence, after

commencement of this action, defendants announced they were increasing the limited power train

warranty to 7 years / 70,000 miles for certain chain assembly components.           In December 2017

(approximately 3 months after this action was initially filed on September 22, 2017), defendants sent

several proposed class representatives written notice of the warranty extension for certain N20/N26

engine chain assembly components. This warranty extension increased the original 4 year / 50,000

mile power train warranty for class engines to 7 year / 70,000 miles for certain primary and secondary

chain components (hereinafter “Warranty Extension”).6 The Warranty Extension (that appears to have




6This warranty extension apparently did not encompass all components of the primary and secondary
chain assemblies alleged to be defective in this complaint because the defendants failed to warrant
Gorey and Henderson’s engines that both experienced chain failures within the extended warranty
period. CAC ¶ 13.
                                                   5
Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 17 of 47 PageID: 570


been implemented in direct response to this class action) is woefully inadequate to address N20/N26

engine defects. CAC ¶ 9.

              STANDARD OF REVIEW FOR FED. R. CIV. P. 12(b)(6) MOTIONS

       A.      Plausibility Pleading Requirements Of Fed. R. Civ. P. 8

       “Federal Rule of Civil Procedure 8(a)(2) requires only ‘a short and plain statement of the claim

showing that the pleader is entitled to relief.’” Bell Atlantic Corp. v. Twombly, 550 U.S. 554, 570

(2007) (hereinafter “Twombly”). In determining whether dismissal is warranted for failure to state a

claim under Rule 12(b)(6), the reviewing court must accept all allegations in the complaint as true and

construe all inferences in a light most favorable to the non-moving party. Toys “R” Us, Inc. v. Step

Two, S.A., 318 F.3d 446, 457 (3d Cir. 2003). “To survive a motion to dismiss, a complaint must

contain sufficient factual matter, accepted as true to ‘state a claim that is plausible on its face.’”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)(quoting Twombly). A complaint demonstrates “facial

plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Twombly at 570. A motion to

dismiss should be granted only in those instances where the complaint fails to articulate “enough facts

to state a claim to relief that is plausible on its face.” Id.; accord, Rodriguez-Ortiz v. Margo Caribe,

Inc., 490 F.3d 92, 95 (1st Cir. 2007).

       The sufficiency of the complaint allegations concerning warranty claims and the negligent or

unfair non-fraudulent conduct of the defendants resulting in their failure to disclose known class

engine defects are governed by the liberal pleading standards of Rule 8(a) and not the heightened

standards of Rule 9(b).

       B.      Specificity Pleading Requirements Of Fed. R. Civ. P. 9(b)7

       Fed. R. Civ. P. 9(b) entitled “Fraud or Mistake; Conditions of the Mind” states “[m]alice,


7Notably, New York’s consumer fraud statute, N.Y. Gen. Bus. Law §349, need only be pleaded
pursuant to Rule 8. BMW NA has not moved to dismiss the complaint’s §349 count (Count XIV).
                                                   6
Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 18 of 47 PageID: 571


intent, knowledge, and other conditions of a person’s mind may be alleged generally.” Fed. R. Civ. P.

9(b); 10B Wright & Miller, Mary K. Kane, FED. PRACTICE & PROCEDURE § 9.03[1][e] (3d ed.

2010). The purpose of Rule 9(b) is to “place the defendants on notice of the precise misconduct with

which they are charged, and to safeguard defendants against spurious charges of immoral and

fraudulent behavior.” Seville Indus. Mach. Corp. v. Southmost Mach. Corp., 742 F.2d 786, 791 (3d Cir.

1984); See also Lum v. Bank of Am., 361 F.3d 217, 223-224 (3d Cir. 2004). The heightened fraud

pleading requirements of Rule 9(b) are fully satisfied where the complaint sets out the “time, place and

content of the alleged false or fraudulent representations.” Epstein v. C.R. Bard, Inc., 460 F.3d 183,

189-190 (1st Cir. 2006) (quoting Powers v. Boston Cooper Corp., 926 F.2d 109,111 (1st Cir 1991);

Frederico v. Home Depot, 507 F.3d 188, 200 (3d Cir. 2007) (“To satisfy this standard, the plaintiff

must plead or allege the date, time and place of the alleged fraud or otherwise inject precision or some

measure of substantiation into a fraud allegation.”); Rodriguez-Ortiz, 490 F.3d at 95. Where fraud by

omission is alleged, the heightened pleading requirements of Rule 9(b) are relaxed. The surreptitious

nature of corporate fraud by omission requires only disclosure of the “general outline of the general

scheme.” Kuney Int’l, S.A. v. DiIanni, 746 F. Supp. 234, 237 (D.Mass. 1990) (“The general outline of

the general scheme to defraud alleged by the plaintiff provides the defendant with notice of the

grounds on which plaintiff’s claim is based” and satisfies Rule 9(b) requirements.). See also Weske v.

Samsung Elecs., Am., Inc., 934 F. Supp. 2d 698, 708 (D.N.J. 2013) (courts should utilize a less

rigorous pleading standard on a motion to dismiss where “specific information is in the exclusive

control of the defendant”) (citing to Craftmatic Sec. Litig. v. Kraftsow, 890 F.2d 628, 645 (3d Cir.

1989)). The requirements of Rule 9(b) are satisfied in the absence of “allegations of date, place or

time,” as long as plaintiffs inject “some measure of substantiation into their allegations of fraud.”

Seville Indus. Mach. Corp, 742 F.2d at 791.

       Contrary to the assertions set out in Defendant BMW Of North American, LLC’s Motion To

Dismiss Plaintiffs’ Consolidated Amended Class Action Complaint (hereinafter “Def.’s Mem.”), the
                                                   7
Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 19 of 47 PageID: 572


complaint fully satisfies the pleading requirements of Fed. R. Civ. P. 8, Twombly, Iqbal and the

specificity requirements of Fed. R. Civ. P. 9(b).

                                        ARGUMENT

POINT I:     BMW’S WARRANTY EXTENSION IS INSUFFICIENT TO
             PROTECT CLASS VEHICLE OWNERS FROM EXPENSIVE
             FUTURE REPAIRS OR PROVIDE ADEQUATE REIMBURSEMENT

       The N20/N26 engine chain assemblies Warranty Extension, initiated by the defendants several

months after the initial class action complaint was filed, fails to remedy the major design and materials

flaw in the chain assembly systems. Those defective engines are out on the roadways waiting to

prematurely fail since BMW has not proactively set out to replace the original chain assemblies with

upgraded components. BMW’s extremely limited Warranty Extension only increases the original

warranty by 20,000 miles and 2 years. This is simply insufficient to address the claims of a multitude

of class vehicle owners whose engines have failed and will fail, with more than 70,000 miles or

beyond 7 years. The Warranty Extension also fails to cover, by its own terms, certain chain assembly

failure modes that result in engine destruction or reimburse class vehicle owners who replace their

defective original engines with a used engine.8 Currently, under the Warranty Extension, there is no

remedy for these class vehicle owners.9 The Warranty Extension also fails to cover class vehicle value


8
  Exhibit A accompanying the motion to dismiss is an exemplar BMW warranty extension letter sent to
class vehicle owners in late 2017. The letter recites in relevant part that the following “Repairs ... do
not Qualify for Reimbursement”:
        Repairs performed on ineligible vehicles, eligible vehicles operated and repaired outside
        the United States and Puerto Rico and/or the diagnosis and repair of other unrelated
        issues. This exclusion applies to repairs, including consequential, that were performed
        using non-genuine BMW parts and/or used passenger car or light truck parts.
        (emphasis added).
        Most BMW class vehicle owners (including five or six named plaintiffs here) purchased used
replacement engines since a new engine costs an estimated $22,000.00, which far exceeded the fair
market value of their respective vehicles. Under BMW’s extended warranty, those plaintiffs with under
70,000 miles who purchased used engines would not be eligible for replacement reimbursement. Those
plaintiffs include Gorey and Henderson who have not been reimbursed for their replacement engines.
9
 A similar engine chain defect class action settlement for older and less costly passenger vehicles is
currently awaiting preliminary approval in the Federal District Court, District of New Jersey. The
                                                    8
Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 20 of 47 PageID: 573


diminution caused by public knowledge that class engines are prone to failure at low miles. In contrast

to the case law cited in Def.’s Mem. at pp. 9-10, BMW’s proposed fix to its defective class engine

chain assemblies by way of a limited mileage and duration extended warranty falls well short of

providing an adequate or complete remedy to plaintiffs and proposed class members.10 Accordingly,

the argument that BMW has provided an adequate remedy for its defective engines and that a class

action is unnecessary should be rejected.

POINT II: THE COURT SHOULD NOT DECIDE AT THIS STAGE
          WHETHER NEW JERSEY LAW MAY APPLY TO ALL CLAIMS

       As several class representatives reside in New Jersey and BMW has its United States

headquarters here, New Jersey law will certainly be applicable to virtually every claim as to Bhawar

Patel, Ashtok Patel and Williams. Additionally, for class representatives from the 14 other states, most

claims are plead alternatively on behalf of a nationwide class and state law subclasses. Until the Court

has the class certification motion before it, addressing these issues would be premature. If, during the

class certification motion, the Court determines that New Jersey law cannot be applied to the class

members residing in other states, the subclasses plead, as well as subclasses having similar state laws,

can be created to address the variations in state law. See, Sullivan v. DB Investments, 667 F.3d 273,

302 (3d Cir.2011) (“if the applicable state laws can be sorted into a small number of groups, each


proposed extended warranty in that settlement is reflective of the high mileage at which this failure
may occur and is ten years or 100,000 miles. See In Re Volkswagen Timing Chain Product Liability
Litig., C.A. No. 16-cv-2765-JLL-JAD, Plaintiffs’ Unopposed Motion for Preliminary Approval of
Settlement [ECF Doc. No. 80], filed May 14, 2018.
10
   Each of the plaintiffs in this litigation who experienced chain assembly failure and requested
financial assistance from BMW, NA (via its dealer network or directly) were denied assistance and/or
full engine repair reimbursement and/or consequential damages. For example, Gelis was not
reimbursed for alternative transportation while his vehicle was being repaired. One case cited by the
defendants in support of their contention that this class action is unnecessary is Chin v. Chrysler Corp.,
182 F.R.D. 448, 463 (D.N.J. 1998). Chin is strikingly different from this proceeding since Chrysler
conducted two recall campaigns, reimbursed all owners for all past brake repair costs and provided a
lifetime warranty on the components alleged to have been defective. Other cases cited by the
defendants also provided a complete remedy to aggrieved consumers that the respective proposed class
action would not supplement or improve upon.
                                                    9
Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 21 of 47 PageID: 574


containing materially identical legal standards,” then certification of subgroups “embracing each of the

dominant legal standards can be appropriate.”)

       Ample authority demonstrates it is premature to make a choice of law determination at this

early stage in the litigation. See, In re Volkswagen Timing Chain Product Liability Litig., C.A. No. 16-

cv-2765-JLL-JAD, 2017 WL 1902160 at *10 (D.N.J. May 8, 2017) (hereinafter “VW Timing Chain

Litig.”) (“As plaintiff correctly notes, the choice of law analysis has been routinely found to be

premature at the motion to dismiss phase of a class action suit, especially when certain discovery is

needed to further develop the facts that will be used in the choice of law analysis.”) (citations omitted);

Harper v. LG Electronics USA, Inc., 595 F.Supp.2d 486 (D.N.J. 2009) (facts set forth in pleading are

presumed true, thus court accepted that New Jersey law governed claims deferring choice of law

analysis until a full factual record was presented); In re K—Dur Antitrust Litigation, 338 F.Supp.2d

517, 541-42 (D.N.J.2004) (postponing choice of law analysis to class certification stage); Samsung

DLP Television Class Action Litigation, 2009 WL 3584352, at *3 (D.N.J. Oct. 27, 2009) (“Due to the

factual inquiry that may be necessary to properly weigh the Restatement factors, “it can be

inappropriate or impossible for a court to conduct that analysis at the motion to dismiss stage when

little or no discovery has taken place.”); Arlandson v. Hartz Mt. Corp., 792 F.Supp.2d 691, 702 (D.N.J.

2011) reconsideration denied, 2011 WL 3703412 (D.N.J. Aug. 23, 2011) (premature to conduct choice

of law determination as to breach of express warranty since fact intensive inquiry required, hence court

determined whether the breach of warranty allegations stated a claim applying New Jersey law).

       Defendant’s reliance upon Chin and In re Ford Motor Co., United Techs. Auto., Inc., 174

F.R.D. 332 (D.N.J. 1997) is misplaced. Choice of law issues were raised in both cases that were later

decided in the context of class certification motions, not at the motion to dismiss stage. Additionally,

Cooper v. Samsung Elecs. Am., Inc., 374 F. App'x 250, 256 (3d Cir. 2010), does not support the

proposition that choice of law decisions must be made now. Rather, that court merely indicated, in a

footnote, that the trial judge did not commit reversible error by resolving the choice of law issue
                                                    10
Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 22 of 47 PageID: 575


regarding the statutory consumer fraud act claim at the motion to dismiss stage. This is not a ringing

endorsement of deciding choice of law issues on a motion to dismiss, particularly given Judge

Ambro’s dissent suggesting remand because the trial court applied pre-Camp Jaycee law, and “the

relevant policies of the forum” would support applying New Jersey law under the Restatement

analysis. 11

        BMW, NA has not established that choice of law issues need to be addressed now deciding the

issue with respect to the numerous causes of actions asserted would be premature.

     A. It Is Premature To Consider Whether A Nationwide
        Breach Of Warranty Claim Is Appropriate

        BMW NA asserts that plaintiffs cannot pursue a nationwide breach of warranty claim under

New Jersey law. However, in making this assertion, every single opinion cited was decided in the

context of a motion to certify the class, not a motion to dismiss. See Payne v. FujiFilm U.S.A., Inc.,

2010 WL 2342388, at *1 (D.N.J. May 28, 2010) (decision on class certification); Marcus v. BMW of N.

Am., LLC, 2010 WL 4853308, at *1 (D.N.J. Nov. 19, 2010), vacated, 687 F.3d 583 (3d Cir. 2012)

(“Having survived the defendants' motions to dismiss Marcus now moves for certification of his

proposed classes.”); Oscar v. BMW of N. Am., LLC, 274 F.R.D. 498, 509 (S.D.N.Y. 2011) (opinion

regarding class certification); Chin, at 450 and In re Ford Motor Co., United Techs. Auto., Inc., 174

F.R.D. 332 (D.N.J. 1997); Arons v. Rite-Aid Corp., 2005 WL 975462 (N.J. Super. Mar. 23, 2005)

(choice of law determination in the context of a breach of warranty class action during the class

certification motion). Thus, it is premature for this Court to resolve choice of law issues at this early

stage of the litigation.


11
    Case citations at Def.’s Mem. n.6 are inapposite. In McGuire v. BMW of N. Am., LLC, 2014 WL
2566132, at *5 (D.N.J. June 6, 2014), the only cited case from this jurisdiction, the court held that a
New Jersey resident would lack standing to assert claims arising under the laws of other unknown
jurisdictions. Here there are numerous plaintiffs in various jurisdictions, a totally different situation.
Judge Linares stated: “The Court cannot reasonably determine at this time whether Plaintiff can pursue
claims of breach of express and written warranty and/or violation of the NJCFA on a nationwide class
action basis, as such an analysis would be entirely speculative at this juncture.” Id. at *4.
                                                   11
Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 23 of 47 PageID: 576


       In Elias v. Ungar's Food Prod., Inc., 252 F.R.D. 233, 249–50 (D.N.J. 2008), the court certified

a nationwide breach of warranty class under New Jersey law rejecting defendant’s claim that the law of

all 50 states would have to be applied. The court held that the failure to identify specific conflicts

applicable in the different states resulted in applying the law of the forum and if the court had to

conduct a choice of law analysis it would find that New Jersey law applied since “[a] New Jersey

business made a promise emanating from New Jersey. An express warranty embodies a promise and

New Jersey has an interest in ensuring its businesses live up to their promises to consumers and

provide a remedy if the promise is broken.”

       Indeed, where defendant seeks a determination on the choice of law issue regarding breach of

warranty at the motion to dismiss stage most courts find that it is premature to make that determination

and this Court should so hold.

B. It Is Premature To Determine Now Whether The New Jersey Consumer
   Fraud Act (“NJCFA”) Will Apply To A Nationwide Class

       BMW NA’s reliance on Maniscalco v. Brother Int'l (USA) Corp., 709 F.3d 202, 210 (3d

Cir.2013), is misplaced since that case involved a choice of law determination at the summary

judgment stage. Indeed, the court distinguished In re Mercedes-Benz Tele Aid Contract Litigation, 257

F.R.D. 46 (D.N.J. 2009), where Judge Debevoise conducted his choice of law analysis on a motion to

dismiss. The Third Circuit held that the trial court “was bound to accept as fact that defendant’s

marketing team was solely responsible for the alleged misrepresentations and omissions and that all of

the misconduct took place in New Jersey.” Maniscalco at 211. Similarly, if this Court were to conduct

a choice of law analysis based upon the pleading here, we submit Tele Aid and the case at bar share

many similarities. In both cases, the conduct arose out of concealment of product defects where

defendants maintain executive offices and employees in New Jersey with responsibility for making

decisions concerning the resolution of design defects. BMW NA operates its national marketing,

warranty, consumer relations and engineering operations from its New Jersey facility. CAC ¶ 15.


                                                  12
Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 24 of 47 PageID: 577


Concealment of class engine defects was orchestrated at its NJ headquarters. CAC ¶ 18. Thus, as with

Tele Aid, defendant’s executives and employees in this case concealed material facts in New Jersey

regarding the defects and dangers of its product. See also Kalow & Springut, LLP v. Commence Corp.,

2012 WL 6093876 (D.N.J. Dec. 7, 2012) (“[T]his Court concluded that New Jersey's interests in

having its law apply were ‘especially strong’ given the fact that the defendant was a New Jersey

corporation with its principal place of business in New Jersey and its employees were located in New

Jersey.”)

        Although BMW NA relies upon McGuire v. BMW of N. Am., LLC, 2014 WL 2566132, at *4

(D.N.J. June 6, 2014) (Def.’s Mem. n.6), Judge Linares stated that a choice of law analysis could not

properly be performed until the case progressed through discovery “as such an analysis would be

entirely speculative at this juncture.”

     C. A Similar Analysis Should Be Applied To Plaintiffs’ Negligent Misrepresentation And
        Unjust Enrichment Claims Since The Choice of Law Determination Would Be Premature

        A similar analysis dictates that it is equally premature to determine which law is applicable to

plaintiffs’ negligent misrepresentation and unjust enrichment claims, particularly as there is significant

precedential authority in New Jersey that unjust enrichment law does not vary in any substantive

manner from state to state12. So too, as to negligent misrepresentation.13

        Since no actual conflict exists, New Jersey law should be applied to all plaintiffs’ unjust

enrichment and negligent misrepresentation claims.


12 Arlandson v. Hartz Mountain Corp., 792 F. Supp. 2d 691, 710 (D.N.J. 2012) (finding no significant
variations on the law of unjust enrichment); Snyder v. Farnam Companies, Inc., 792 F. Supp. 2d 712,
723 (D.N.J. 2011) (finding that “[n]umerous courts have held that unjust enrichment laws do not vary
in any substantive manner from state to state” and applying New Jersey law to all of plaintiffs’ claims).
See also In re Mercedes–Benz Tele Aid Contract Litig. at 58 (finding that any differences under the
laws of the various states are “not material and do not create actual conflict”); Agostino v. Quest
Diagnostics Inc., 256 F.R.D. 437, 464 (D.N.J. 2009) (concluding that “there are no actual conflicts
among the laws of unjust enrichment”); Morcom v. LG Elecs. USA, Inc., 2017 WL 8784836 at *9
(D.N.J. Nov. 30, 2017).
13
   See Elias v. Ungar's Food Prod., Inc., 252 F.R.D. 233, 249–50 (D.N.J. 2008) (court applied New
Jersey law to all negligent misrepresentation claims).
                                                   13
Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 25 of 47 PageID: 578


POINT III: PLAINTIFFS STATE VALID WARRANTY CLAIMS

         A. Plaintiffs Have Asserted Valid Express Warranty Claims
         BMW NA argues that plaintiffs’ warranty claims fail because plaintiffs fail to allege that they

experienced malfunction of their defective chain assemblies within the warranty period. As an initial

matter, this is simply untrue. As ¶ 58 of the CAC makes clear, “[a]lthough their vehicles’ chain

assembly failure occurred outside the unilateral express warranty period . . . the proposed class

representatives’ class vehicles exhibited unmistakable symptoms . . . of degradation and impending

premature failure within the express warranty period.” Id.        Plaintiffs’ premature chain assembly

malfunctions commenced within the express warranty period.

         In any event, defendant BMW NA’s entire argument ignores plaintiffs’ express allegations that

the warranty terms and limitations were unconscionable. CAC ¶¶ 81-92. While an express warranty

may not cover defects manifesting outside the warranty period, a plaintiff may state a claim if he

properly alleges that the warranty was unconscionable. Skeen v. BMW of N. Am., LLC, 2014 WL

283628, at *12 (D.N.J. Jan. 24, 2014).14

         Under New Jersey and a number of other states’ law, an allegation of unconscionability

requires a plaintiff to plead both substantive as well as procedural unconscionability. 15 Id., 14; PB

Prop. Mgt., Inc. v. Goodman Mfg. Co., L.P., 2013 WL 12172912, at *4 (M.D. Fla. Aug. 28, 2013)16;



14   Uniform Commercial Code § 2-302 states in pertinent part:

        (2) When it is claimed or appears to the court that the contract or any clause thereof
        may be unconscionable the parties shall be afforded a reasonable opportunity to
        present evidence as to its commercial setting, purpose and effect to aid the court in
        making the determination.
15
  Under Illinois law, an allegation of unconscionability may be either substantive or procedural and
need not be both. Razor v. Hyundai Motor Am., 222 Ill. 2d 75, 100 (2006).
16
  The court in PB Pro. Mgt. found that the plaintiff's allegations that the warranty limitation was
unconscionable was sufficient to “surmount the low hurdle presented at [the] motion to dismiss stage.
[Moreover,] [u]nder Florida law, a warranty limitation may be unconscionable when a defect is latent
                                                    14
Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 26 of 47 PageID: 579


Leaf Fin. Corp. v. Carroll, 2009 WL 112567, at *4 (D.Mass. Jan.16, 2009). A contract term will be

considered substantively unconscionable if the term is “excessively disproportionate,” involving an

“exchange of obligations so one-sided as to shock the court’s conscience.” Skeen at 13. See also Leaf

Fin. Corp (requiring a showing of “contract terms which are unreasonably favorable to the other party”

for substantive unconscionability); Pendergast v. Sprint Nextel Corp., 592 F.3d 1119, 1139 (11th Cir.

2010) (ruling that“[s]ubstantive unconscionability focuses on the terms of the agreement itself and

whether the terms of the contract are ‘unreasonable and unfair’”); Razor v. Hyundai Motor Am., 222

Ill.2d 75, 100 (2006) (“[s]ubstantive unconscionability refers to those terms which are inordinately

one-sided in one party’s favor”). “Likewise, regardless of the state, procedural unconscionability

focuses on the circumstances of the negotiation that produced the contested term, especially the

personal qualities of the negotiators.” Skeen at *13. Procedural unconscionability can be pled through

allegations of “oppression” which “arises from an inequality of bargaining power which results in no

real negotiation and an absence of meaningful choice.” Id.

       Both forms of unconscionability have been sufficiently pled in the CAC. As in Skeen and VW

Timing Chain Litig., supra at *11-12, the CAC alleges that defendants knew of the defect before the

sale of class vehicles to plaintiffs and that the defect would likely manifest after the warranty period

but prior to the end of the vehicles’ useful and expected lives, and thus unfairly manipulated the

warranty terms to avoid paying for repair costs when their vehicles’ engine components failed

prematurely. CAC ¶¶ 85-87. See also Skeen at *14; VW Timing Chain Litig. at **11-12. Moreover,

plaintiffs allege that, given the inherent defects in class vehicles and incorrect maintenance

recommendations, the terms of the warranty were “oppressive, unreasonable, unconscionable” and

one-sided in unfairly shifting repair costs to consumers. CAC ¶¶ 81, 83, 89, 90.




and the manufacturer knows that the product’s effectiveness is questionable.” PB Prop. Mgt., Inc. at
*4.
                                                   15
Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 27 of 47 PageID: 580


       Plaintiffs additionally allege that they had no meaningful choice in setting forth the time and

mileage limitations in the warranty, and were unfairly taken advantage of because defendants knew

about the defect at the time of sale, while the consumer plaintiffs did not. CAC ¶¶ 81-85. Beyond the

disparity in sophistication and knowledge of the parties, plaintiffs and class members also suffered

from a lack of bargaining power and warranty competition, as well as an inability to bargain to modify

the unfair terms of the warranty, including the manipulated durational limits. CAC ¶¶ 81, 85, 87.

       For these reasons, plaintiffs have pled sufficient facts alleging that the express warranties were

unconscionable, and therefore defendants’ warranty expiration arguments are premature at the pleading

stage. VW Timing Chain Litig. at *11. See also In re Ford Motor Co. Ignition Switch Products Liability

Litig., 1999 WL33495352 at *12 (D.N.J. May 14, 1999). Accordingly, plaintiffs’ breach of express

warranty claims and breach of implied warranty claims should not be dismissed until a factual finding

on their conscionability is determined. Skeen at *12.

       B. Plaintiffs Have Asserted Valid Implied Warranty Claims
       BMW NA erroneously argues that plaintiffs failed to allege their vehicles were not

merchantable at the time of sale. However, the defendant fails to properly read the complaint’s

allegations that unequivocally state that class vehicles were not merchantable at the time of sale. CAC

¶¶ 51, 135, 139, 141, 159. Plaintiffs specifically allege that defects in materials, manufacture and/or

workmanship inherent in their chain assemblies existed from the time of the sale and that their vehicles

were never fit for the ordinary purposes for which passenger vehicles are used – the safe and effective

transport of passengers. Operators of class vehicles faced the constant prospect during the course of

operation of “catastrophic engine damage and/or complete failure ... loss of engine power without

warning, loss of power-assisted steering and reduced braking ...” and “loss of directional stability and

steering.” CAC ¶ 4. See also In re Ford Motor Co. E-350 Van Products Liab. Litig. (No. II), 2008 WL

4126264, at *20 (D.N.J. Sept. 2, 2008) (finding a claim for breach of implied warranty was sufficiently

pled where plaintiffs assert that their vehicles were not merchantable at the time of the sale because

                                                   16
Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 28 of 47 PageID: 581


they were not reasonably fit for their intended purpose of safe transportation).                   Although

merchantability does not mean that “the goods are exactly as the buyer expected,” In re Ford Motor

Co. Ignition Switch Prods. Liab. Litig., 2001 WL 1266317, at *22 (D.N.J. Sept.30, 1997), an

automobile is not merchantable when a defect renders a vehicle unfit for its ordinary purpose of

providing safe transportation. In re Ford Motor Co. E-350 Van Products Liab. Litig. (No. II) at *20.

See also, Falco v Nissan North America, Inc., 2013 WL 5575065 at *9 (C.D. Ca. Oct. 10, 2013)

(finding timing chain defect complaint properly alleged a breach of implied warranty claim since, even

if the vehicle takes occupant from point A to B, “[a] vehicle that smells, lurches, clanks and emits

smoke over an extended period of time is not fit for its intended purpose”).

       BMW NA cites to Sheris v Nissan N. Am. Inc., 2008 WL 2354908, at *5–6 (D.N.J. June 3,

2008) and suggests that because plaintiffs drove their vehicles for a few years before the chain

assembly defects manifested, no defects were inherent at the time of sale.              Sheris, however, is

distinguishable. Sheris concerned whether a particular brake system was defective where this system

requires periodic replacement of so-called “wear and tear” components. Because the plaintiff was able

to drive his vehicle for 20,618 miles and for about two years before he needed to replace his brake pads

and rotors, the court found that the plaintiff failed to allege that the vehicle was unfit at the time of sale

for its ordinary purpose of safe transportation. BMW class vehicles incorporated defects in their

engine chain assemblies that are non-maintenance lifetime components of the engine. These chain

assembly defects existed at the time of sale and created conditions for unsafe catastrophic failure from

the date of purchase. See Greene v BMW of N. Am., 2013 WL 5287314, at *3 (D.N.J. Sept. 17, 2013)

(distinguishing Sheris).

       Established case law of New Jersey and other states make clear that so long as the alleged

defect in the goods existed at the time of sale, a claim for breach of implied warranty of

merchantability has been properly stated. See e.g. Snodgrass v. Ford Motor Co., 2002 WL 485688, at

*5 (D.N.J. Mar. 28, 2002); Lipinski v. Martin J. Kelly Oldsmobile, Inc., 325 Ill. App. 3d 1139, 1151
                                                     17
Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 29 of 47 PageID: 582


(Ill. App. Ct. 2001) (“An implied warranty of merchantability applies to the condition of the goods at

the time of sale and is breached only if the defect in the goods existed when the goods left the seller’s

control.”); Marcus v. Anderson/Gore Homes, Inc., 498 So. 2d 1051, 1052 (Fla. Dist. Ct. App. 1986).

An “implied warranty of merchantability may be breached by a latent defect undiscoverable at the time

of sale.”); Majdipour v. Jaguar Land Rover N. Am., LLC, 2013 WL 5574626, at *22 (D.N.J. Oct. 9,

2013) (citing Mexia v. Rinker Boat Co., Inc., 95 Cal. Rptr. 3d 285, 290–91 (Cal. Ct. App. 2009))

(quotations omitted) (to state a breach of implied warranty claim, a plaintiff need not allege that their

vehicle “failed to work properly from the outset”). In fact, “[u]ndisclosed latent defects ... are the very

evil that the implied warranty of merchantability was designed to remedy.” Id. (citations and

quotations omitted).     Ultimately, “[i]n the case of a latent defect, a product is rendered

unmerchantable, and the warranty of merchantability is breached, by the existence of the unseen

defect, not by its subsequent discovery.” Id. See also Collins v. Sears, Roebuck and Co., 31 Mass. App.

Ct. 961 (Mass. App. Ct. 1992) (finding that evidence of a defect which existed in an electric clothes

dryer at time of sale that caused a house fire properly supported a breach of implied warranty of

merchantability claim even though the fire occurred two and one half years after the sale).

       Although the total failure of plaintiffs’ chain assemblies and discovery of their defective nature

may not have occurred until years after the sale, the inherent defects in materials, manufacture and/or

workmanship were present at the time of sale. This condition renders class vehicles unmerchantable

and plaintiffs have properly pled claims for breach of implied warranty.

POINT IV: ALL PLAINTIFFS STATE A CLAIM UNDER
          THE MAGNUSON-MOSS WARRANTY ACT

       BMW NA challenges plaintiffs’ Magnuson-Moss Warranty Act (“MMWA”) claims by

invoking the condition set forth in 15 U.S.C. § 2310(d)(3)(C) requiring a class action to maintain at

least 100 named plaintiffs when making a MMWA claim. Def.’s Mem. at n.26. However, the

requirement of 15 U.S.C. 2310(d)(3) applies only to MMWA claims brought under 15 U.S.C. §


                                                    18
Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 30 of 47 PageID: 583


2310(d)(1)(B), allowing for MMWA claims for damages and other legal and equitable relief brought in

an appropriate district court of the United States. Plaintiffs’ MMWA claim is expressly brought

pursuant to 15 U.S.C. § 2310(d)(1)(A) that allows an MMWA claim to be brought by plaintiffs in their

respective states’ courts. That claim is now “before this Court as a supplemental state claim for each

of the state subclasses pursuant to diversity jurisdiction under CAFA.” CAC ¶ 149. As such, the

requirement of 100 named plaintiffs under 15 U.S.C. § 2310(d)(3)(C) is not applicable.

       The defendant urges this Court to follow the ruling of In re Blumer v. Acu-Gen Biolabs, Inc.,

638 F. Supp. 2d 81 (D. Mass. 2009) finding against independent CAFA-based jurisdiction under these

circumstances and insisting that § 2310(d)(3)(C)’s 100-plaintiff MMWA requirement remains.

Multiple courts in this district have already considered the issue and reached a contrary conclusion.

CAFA does provide an alternate basis of federal jurisdiction over MMWA claims independent of 15

U.S.C. § 2310(d)(1)(B). McGee v. Cont. Tire N. Am., Inc., 2007 WL 2462624, at *4 (D.N.J. Aug. 27,

2007); McCalley v. Samsung Electronics America, Inc., 2008 WL 878402, at *4 (D.N.J. Mar. 31,

2008). See also Chavis v. Fidelity Warranty Services, Inc., 415 F.Supp.2d 620 (D.S.C. 2006) (seminal

case holding courts must presume that Congress enacted newer legislation to be harmonious with the

existing law and Congress, therefore, must be presumed to have been aware of MMWA's limited

jurisdictional provisions and intended to expand them with CAFA).

       Ultimately, the parties appear to agree on one thing - where plaintiffs assert a viable breach of

warranty claim, either express and/or implied, plaintiffs have satisfied the pleading requirement to

assert an MMWA claim. Def.’s Mem. at 23-24, n.27, 28; Clemens v. DaimlerChrysler Corp., 534

F.3d 1017, 1022 (9th Cir. 2008) (MMWA claims “stand or fall” with the “express and implied

warranty claims under state law”). In fact, aside from the jurisdictional matter discussed above, the

defendant does not attack the sufficiency of plaintiffs’ MMWA claim. Rather, the defendant’s sole

argument in support of its motion to dismiss plaintiffs’ MMWA claim is premised on its anticipated



                                                  19
Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 31 of 47 PageID: 584


dismissal of plaintiffs express and implied warranty claims. (Def.’s Mem. at 23-24. A fortiori, if

either of those claims survive, the MMWA claim must survive to the same extent.

POINT V: THE COMPLAINT’S STATE CONSUMER PROTECTION COUNTS
         SATISFY THE SPECIFICITY REQUIREMENTS OF RULE 9(b)

         The complaint alleges in sufficient detail that the defendants knowingly failed to disclose to

plaintiffs that their class vehicles were defective, i.e., the engine’s chain assemblies prematurely fail

and subject class engines to power loss, stalling and/or catastrophic engine failure. CAC ¶¶ 2-9. The

complaint also alleges that the defendants affirmatively misrepresented the characteristics of the chain

assemblies including performance, maintenance and durability in their misleading warranty materials

and maintenance schedules that directly influenced class vehicle purchasers. CAC ¶¶ 6-7, 75.

         Where there are multiple sources of reliable information, such as consumer complaints (CAC

¶¶ 39-40), aggregate data collected from dealers including monitoring of warranty claims and

performance of vehicles (CAC ¶¶ 17, 53, 72), defendants’ warranty and field inspection personnel

(CAC ¶ 72), pre-and post-release testing data compiled by various BMW, NA specialized departments

(CAC ¶ 170), multiple chain component redesigns (CAC ¶¶ 30-34) and evidence of standard industry

monitoring practices, these sources are sufficient to support a claim of a manufacturer’s knowledge of

the defect. See In re Porsche Cars N. Am., Inc., 880 F. Supp.2d 801, 816-17 (S.D. Ohio 2012). This is

particularly true here where the defendants redesigned the chain assembly components multiple times

and reassigned new part numbers to each subsequent revision. CAC ¶¶ 30-34.

         While Def.’s Mem. at p. 25, incorrectly asserts the Court should not consider the “anonymous

complaints posted to NHTSA’s website” set out in the CAC,17 a court in this jurisdiction recently had

an opportunity to address this exact issue. See In Re VW Timing Chain Litig., at **4, 19 (court fully

considered consumer complaints to NHTSA in finding the complaint adequately alleged defendants’

knowledge of engine defect). These NHTSA complaints are not “anonymous.” The NHTSA-ODI


17
     The NHTSA class vehicle defect complaints are set out at CAC ¶ 40.
                                                   20
Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 32 of 47 PageID: 585


website allows consumers to “identify and report problems you might be having with your vehicle,

tires, equipment or car seats.” A complaint is only added to the public NHTSA database after removal

of all information from complaint fields that personally identify a complainant.              NHTSA-ODI

complaints are made by individuals who must identify themselves, enter detailed multi-page contact

information and vehicle information (including an accurate VIN) before the complaints are reviewed

and analyzed by NHTSA. In addition, defendants have and continue to be under a legal obligation

pursuant to federal law to monitor defects that can cause a safety issue and report them within five (5)

days of learning of them. The defendants therefore assiduously monitor the NHTSA–ODI website and

the complaints filed in order to comply with federal reporting obligations. CAC ¶ 49. Class vehicle

owner complaints to NHTSA are properly before this Court and should be considered.

       Unanticipated sudden engine primary and secondary chain assembly failure in class vehicles is

also a material safety risk to occupants of class vehicles and other motorists. CAC ¶¶ 4, 40. The

defendants failed to inform purchasers that the class engine chain assemblies were defective and

should be replaced, at minimum, every four years or 50,000 miles, whichever occurs first, to prevent

unanticipated failure. CAC ¶¶ 110, 210.        “The defendants fraudulently, intentionally, negligently

and/or recklessly concealed from the proposed class representatives and proposed class members

defects in class vehicles even though the defendants knew or should have known information

concerning these defects was material and central to the marketing and sale of class vehicles to

prospective purchasers including proposed class representatives and proposed class members.” CAC ¶¶

100, 104.

       The defendants made misrepresentations and omissions of a material nature concerning the

characteristics of their class vehicles that were received by plaintiffs prior to and at the point of vehicle

purchase. CAC ¶ 62. These misrepresentations, omissions and fraudulent statements were made by

BMW dealers referencing the defendants’ publications concerning class vehicles that created a

reasonable belief that the useful life expectancy of the chain assemblies in class engines without a
                                                     21
Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 33 of 47 PageID: 586


major failure was in excess of 150,000 miles. Id. These representations specifically and unequivocally

stated that the engine chain assemblies were non-maintenance lifetime engine components. CAC ¶¶ 7,

n.4, 62.18 Had plaintiffs known of the material omission and false statements during the warranty

period, they would have brought their vehicles into an authorized BMW dealer to have the chain

assemblies replaced prior to the end of the warranty. CAC ¶¶ 67, 70, 88, 177.

        In VW Timing Chain Litig., supra, Chief Judge Linares had the opportunity to explore very

similar complaint allegations when deciding a motion to dismiss involving another automobile

manufacturer and its American subsidiary. See VW Timing Chain Litig., supra.19 The court in VW

Timing Chain denied the defendants’ motion to dismiss the multi-state consumer protection counts

sounding in fraud where it was determined that:

        As to the particularity, the Court has discussed, in great detail, how Plaintiffs' Complaint
        is replete with allegations of both overt misrepresentations and active concealment with
        respect to the alleged defect in the Timing Chain System. Indeed, Plaintiffs make very
        specific allegations about how they were supposedly misled about the defective Timing
        Chain System, along with misrepresentations by Defendant regarding the warranties, the
        useful life of the vehicle and its engine components, as well as the necessary maintenance
        and repairs associated with the Class Vehicles.

Id. at *23.

        Similarly, in Dewey v. Volkswagen, 558 F.Supp.2d 505 (D.N.J. 2008), the court declined to

dismiss the fraudulent omission count premised on common law fraud and the New Jersey Consumer

Fraud Act where the complaint alleged:

        Volkswagen did not fully and truthfully disclose to its customers the true nature of the
        inherent design defects, which were not readily discoverable until years later, often
18
  “Although their vehicles’ chain assembly failure occurred outside the unilateral express warranty
period (the length of which was not bargained for prior to purchase), the proposed class
representatives’ class vehicles exhibited unmistakable symptoms (known only by the defendants) of
degradation and impending premature failure within the express warranty period.” CAC ¶ 58. The
defendants wrongfully refused to replace failing defective chain assembly components under the
vehicle’s power train warranty while the vehicles were still within the warranty period. Id. at ¶¶ 59, 70,
87, 177.
19
  See also Skeen, supra; Falco v. Nissan North America Inc., supra at *6; In re Saturn L-Series Timing
Chain Prods. Liab. Litig., MDL No. 1920, 2008 WL 4866604 (D. Neb. Nov. 7, 2008).
                                                    22
Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 34 of 47 PageID: 587


        after the warranty has expired. As a result, Plaintiffs and the other Class Members were
        fraudulently induced to lease and or purchase the Class Vehicles with the said design
        defects and all of the resultant problems....

Id. at pp. 527-28.

        Other courts have held that similar language satisfies the pleading requirements of Fed R. Civ.

P. 9(b). Maniscalco held that the following language satisfied Rule 9(b) requirements where it was

alleged that manufacturer Brother International Corporation committed fraud by:

        c. Marketing, advertising, and selling machines that they know are likely to fail due to
        the ME41 defect before their expected useful life of five years or 50,000 pages of
        printed material, while intentionally concealing and failing to disclose information to
        prospective purchasers; and

        d. Unconscionably limiting warranty coverage for a print-head failure caused by the
        ME41 defect, despite [Defendant]'s knowledge that the ME41 defect would cause print
        heads in MFC machines to fail after the warranty period expired, but before the
        projected useful life of the MFC machines ....

Id. at p. 500 (emphasis in original).

        The following complaint allegations were deemed sufficient to satisfy Rule 9(b)’s requirement

in Henderson v. Volvo Cars of North America, LLC., 2010 WL 2925913 (D.N.J. 2010):

        Defendants were aware that model years 2003 through 2005 of the Volvo XC90 T6
        suffered from a common design defect resulting in transmission problems, but failed to
        disclose this to Plaintiffs and Class members....

        Defendants did not fully and truthfully disclose to its customers the true nature of the
        inherent design defect with the transmission, which was not readily discoverable until
        years later, often after the warranty has expired. As a result, Plaintiffs and the other
        Class Members were fraudulently induced to lease and/or purchase the Class Vehicles
        with the said design defects and all of the resultant problems.

Id. at *5.20

        The complaint here fully comports with the requirements of Fed R. Civ. P. 9(b) where the

plaintiffs have properly alleged the elements of surreptitious corporate fraud by omission by the

defendants. In re Burlington Coat Factory Securities Litigation, 114 F.3d at 1418; Kuney at 237. The
20
   The Henderson court allowed the common law fraud by omission claims to proceed together with a
claim brought by a Massachusetts resident for violation of Mass. Gen. L. ch. 93A as well as other state
consumer laws grounded in fraud.
                                                   23
Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 35 of 47 PageID: 588


complaint does more than just inject “some measure of substantiation into their allegations of fraud”

since the complaint accomplishes the primary aim of Rule 9(b) that is to “place the defendants on

notice of the precise misconduct with which they are charged.” Seville Indus. Mach. Corp, 742 F.2d at

791. See also, Montich v. Miele USA, Inc., 849 F. Supp. 2d 439, 451 (D.N.J. 2012). “[P]laintiffs

pleading a fraud by omission claim are not required to plead fraud as precisely as they would for a

false representation claim.” Feldman v. Mercedes–Benz USA, LLC, No. 11-cv-00984, 2012 WL

6596830, at *10 (D.N.J. Dec. 18, 2012). This principle is particularly applicable to this proceeding

since the defendants design and manufacture complex products where evidence demonstrating some

elements of fraud by omission is entirely within BMW’s exclusive possession. The complaint sets out

enough specificity of the defendants’ fraud by omission to satisfy both the relaxed fraud by omission

standard and heightened fraudulent misrepresentation pleading requirements of Fed R. Civ. P. 9(b).

Those allegations detail “what the omissions were ... the person responsible for the failure to disclose

... the context of the omissions and the manner in which they misled the plaintiff, and ... what

defendant obtained through the fraud.” Id. at ¶¶ 107-114.

       The complaint adequately identifies that the defendants fraudulently omitted to disclose

material facts basic to both the purchase and service of class vehicles including information concerning

class engine chain assembly defects in an effort to deceive purchasers. This information included

impact on future repairs, operating costs and vehicle reliability. 21 CAC ¶¶ 2-8, 28-39, 107-110. The

defendants fraudulently concealed from the plaintiffs and class members the chain assembly defects

the defendants knew or should have known were material and central to the marketing and sale of class

vehicles to prospective purchasers. Id. at ¶ 107. The defendants concealed from plaintiffs during their

respective warranty periods that a defect existed with the engine chain assemblies that could have and


21
  Replacing the chain assemblies on class engines is an expensive repair costing upwards of between
$1,800.00 for a single chain replacement to more than $11,000.00 for a used engine. CAC ¶ 13. A
new engine costs more than $22,000.00. CAC ¶ 8.


                                                  24
Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 36 of 47 PageID: 589


should have been remedied by replacement during the warranty period, particularly as it was a safety

issue.22 The defendants’ withholding of this material information deprived plaintiffs of the right to

have the defective chain assemblies replaced without cost under warranty. CAC ¶ 110.

       It is alleged that this material information was fraudulently concealed and/or actively

suppressed in order to sell class vehicles to uninformed consumers (including the proposed class

representatives and proposed class members). Other fraud was premised on false statements set out in

the Owner’s Manual and the Service and Warranty Information materials. CAC ¶¶ 77-79, 112-113.

Clearly, if the plaintiffs had been informed of defects in their class vehicles, they would not have

purchased their respective class vehicles or would have paid substantially less, and as a result they

have suffered diminution in value in addition to required payment for repairs, as well as the cost of

future repairs. If the proposed class representatives and proposed class members had been informed of

the defect during the warranty period, they would have had the defective part replaced under warranty.

CAC ¶¶ 110-112. The defendants’ conduct violated the consumer fraud statutes further by depriving

the proposed class representatives and proposed class members of the repair or replace remedy set out

in the class vehicle limited power train warranty. CAC ¶ 52, 118.23


22
  More specifically, the defendants intentionally and fraudulently omitted to disclose (as required by
federal and state statutes and regulations) to plaintiffs that their respective class vehicles incorporated
serious defects that had a significant safety effect on the vehicle’s operation and economic value. Id. at
¶¶ 4, 98.

23The CAC also asserts a claim of “unfair” conduct under Massachusetts’ consumer protection statute,
Mass. Gen. L. ch. 93A (hereinafter “MCPS”). “[O]ne difference between a fraud claim and the more
liberal 93A is allowance of a cause of action [for failure to disclose material facts] even in the absence
of a duty to disclose.” V.S.H. Realty, Inc., v. Texaco, Inc., 757 F.2d 411, 417 (1st Cir. 1985). The
MCPS also allows claims where a defendant violates the Federal Trade Commission Act of 1914, 38
Stat. 719, codified at 15 U.S.C. §§ 41-58, as amended (hereinafter “FTCA”). Mass. Regs. Code tit.
940, § 3.16(4) (1993). FTCA unfair business violations occur where: (1) substantial injury occurs to
consumers; (2) who were unable to have reasonably avoided the injury due to no fault of their own;
and, (3) the defendant’s conduct do not provide any countervailing benefits to consumers or
competitors. Plaintiffs’ Complaint plausibly alleges that the defendants violated the FTCA. CAC ¶¶
13, 202-204, 208, 214, 218 and such alleged conduct is governed by the liberal pleading standard of
Rule 8(a).
        Since Massachusetts non-fraudulent unfair conduct claims are not subject to the Rule 9(b)
                                                    25
Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 37 of 47 PageID: 590


         In sum, the complaint sets out in sufficient detail defendants’ fraudulent omissions and should

not be dismissed since sufficient allegations of the defendants’ fraud by omission, satisfy the pleading

specificity requirements of Rule 9(b) for the violation of state court consumer protection statutes

sounding in fraud. 24 Accordingly, the complaint state consumer claims allegations of Counts IV

through and including Count XIX should not be dismissed.

POINT VI:       PLAINTIFFS’ NEGLIGENT MISREPRESENTATION CLAIMS MAKE
                PLAUSIBLE ALLEGATIONS OF NEGLIGENT
                MISREPRESENTATIONS OF MATERIAL FACTS CONCERNING
                ATTRIBUTES OF THE CLASS ENGINE CHAIN ASSEMBLIES 25
         Defendant BMW NA misrepresents the context and content of the CAC allegations with its

incorrect characterization that: “[T]he misrepresentations Plaintiffs assert are really omissions.” Def’s.

Mem. at 27. In addition to plaintiffs’ allegations of material omissions, the CAC articulates in multiple

paragraphs, defendants’ affirmative representations and incomplete representations that were

misleading to class vehicle owners concerning the cause of class engine failures, the useful and

expected life of class vehicles, and their recommended maintenance program. CAC ¶¶ 44, 61-62, 65,

67, 75-76, 100.     These representations created a reasonable belief that the “engine primary and



pleading standard, the unfair conduct claims must merely pass muster under Rule 8(a). There is no
question that the defendants’ negligent and/or unfair conduct creates a cause of action under the MCPS
as that branch does not require deceit or recklessness in order to recover under the regulation. Sheehy v.
Lipton Industries, Inc., 24 Mass App. Ct. 188,195, 507 N.E.2d 781,785 (1987), further rev. denied, 400
Mass. 1103, 509 N.E.2d 1202 (1987). See also Urman v. South Boston Savings Bank, 424 Mass. 165,
168, 674 N.E.2d 1078, 1081 (1997) (nondisclosure of material facts actionable under § 3.16(2) without
requiring proof of fraudulent intent or deceitful conduct). “[I]t is not a defense to a c. 93A claim that
the defendant's conduct was negligent rather than intentional ... ” Linthicum v. Archambault, 379 Mass.
381, 388, 398 N.E. 482, 488 (1979) (citing to Rice, New Private Remedies for Consumers: The
Amendment of Chapter 93A, 54 Mass.L.Q. 307, 314 (1969) for the proposition “neither intent to
engage in an unlawful act nor knowledge of its unlawfulness is required in order to establish liability”).

24   Defendants concede that plaintiffs’ New York GBL §349 claim is adequately pleaded.

25A “cause of action for negligent misrepresentation may exist when a party negligently provides false
information.” Karu v. Feldman, 119 N.J. 135, 146 (1990). Liability for the misrepresentation
“extend[s] to all reasonably foreseeable recipients.” Id. This general principle of law is accepted by
New Jersey and other states.


                                                   26
Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 38 of 47 PageID: 591


secondary chain assemblies were non-maintenance engine lifetime components” with a useful life

expectancy in excess of 150,000 miles. CAC ¶ 62. These affirmative statements appeared in the

Owner’s Manual and the Service and Warranty Information materials. Id., ¶¶ 62, 65, 100. The CAC

also alleges that the defendants’ customer service representatives affirmatively misrepresented the

existence of chain assembly defects and the cause for class vehicles’ failures and consequent warranty

coverage. CAC ¶ 67. 26 The defendants’ affirmative statements alleged in the CAC are more than

sufficient to maintain the count for negligent misrepresentation. VW Timing Chain Litig.,2017 WL

1902160, at *18 (describing actionable affirmative misrepresentations in warranty manuals,

maintenance schedules, warranty application and cause of component failure that are substantially

similar to the complaint allegations here).

      A. The CAC Alleges Defendants Had Exclusive And Superior Knowledge Of The Chain
         Assembly Defects And, As Such, Owed A Duty Of Disclosure To Class Vehicle Purchasers

          Although the complaint’s allegations of defendant BMW NA’s material omissions concerning

class vehicles’ defects can only support a negligent misrepresentation claim if the defendants owed an

independent legal duty to disclose, Saltiel v. GSI Consultants, Inc., 170 N.J. 297, 315 (2002),27 the




26   Paragraph 67 of the CAC recites in full as follows:

          The defendants’ customer service telephone representatives made false and fraudulent
          representations to class members as to the cause and existence of chain assembly defects
          in class vehicles although the service representatives received hundreds of consumer
          complaints that class vehicles prematurely failed. The defendants’ employees falsely
          represented certain conditions for which the defendants were not responsible as the basis
          for the failures that were in fact caused by a defect in materials, manufacturing and
          design. They falsely stated that defendants were not responsible for the resulting class
          vehicle failures and/or denied the existence of known class vehicles defects.

27 As a matter of law, courts in some states including California have suggested that “[w]hen the
defendant purports to convey the ‘whole truth’ about a subject, ‘misleading half-truths’ about the
subject may constitute positive assertions for the purpose of negligent misrepresentation.” Here, the
complaint alleges that BMW NA conveyed descriptions of class vehicles and their parts to purchasers
through the owner’s manual, service pamphlet, and other materials. CAC ¶ 62. Accordingly, by not
also disclosing the chain assembly defects in their exclusive knowledge, their descriptions amounted to
                                                     27
Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 39 of 47 PageID: 592


defendants owed a duty to disclose chain assembly defects since they were in exclusive possession of

the defect information that affected class vehicle safety while class vehicle purchasers were not

cognizant of the defects or the associated dangers. CAC ¶¶ 41-42, 60, 66, 69, 102. These allegations

are sufficient to establish that the defendants possessed superior and exclusive defect knowledge and as

such had a duty of full disclosure to class vehicle owners. See Majdipour v. Jaguar Land Rover N.

Am., LLC,    2013 WL 5574626, at *17 (D.N.J. Oct. 9, 2013) (duty of disclosure owed where

manufacturer with exclusive knowledge of defect through “pre-release testing data, early consumer

complaints . . . testing conducted in response to those complaints, high failure rates and replacement

parts sales data contained in [Land Rover’s] warranty databases, as well as high reimbursement claims

paid to Land Rover dealers”); Mukamal v. GE Capital Corp. (In re Palm Beach Fin. Partners, L.P.),

517 B.R. 310, 335 (Bankr. S.D. Fla. 2013).28

       Defendant BMW NA’s arguments that the economic loss rule precludes claims premised on

negligent misrepresentation are similarly unavailing. As every rule has its exception, New Jersey and

other states have specific exceptions to the economic loss rule where tort claims are based on fraud,

conduct independent of a contract or where there is a risk of personal injury. See, e.g., Park v. Inovio

Pharms., Inc., 2016 U.S. Dist. LEXIS 24993, *4-6, 2016 WL 796890 (D.N.J. Mar. 1, 2016).

       In this case, as in VW Timing Chain Litig, the defendant’s fraudulent misrepresentations and

omissions were outside of any contract and the chain assembly defects pose serious risk of personal

harm. VW Timing Chain Litig., at *21; CAC ¶¶ 3-4, 41-44, 73. Accordingly, plaintiffs’ negligent

misrepresentation claims are not precluded by the economic loss rule and should be allowed to




“misleading half-truths” constituting positive assertions purposes of their negligent misrepresentation
claims.

28The defendants also owed a duty to class vehicle owners to correct their improper maintenance
recommendations and intervals set forth in the Owner’s manual and Service and Warranty Information
pamphlet that affected vehicle operation and safety. CAC ¶¶ 77-79.


                                                  28
Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 40 of 47 PageID: 593


proceed.29

POINT VII: PLAINTIFFS' UNJUST ENRICHMENT CLAIMS ARE PROPERLY PLED

        BMW NA also seeks dismissal of plaintiffs' unjust enrichment claims because, it contends,

plaintiffs have an adequate remedy at law.30

        However, unjust enrichment may be pleaded in the alternative. See Fed. R. Civ. P. 8(d)(2) &

(3) (a party may plead claims in the alternative and “may state as many claims or defenses as it has,

regardless of consistency”); In re K-Dur Antitrust Litigation, 338 F. Supp.2d 517, 544 (D.N.J. 2004)

(“it has long been recognized that plaintiffs are allowed to plead alternative causes of action and unjust

enrichment is commonly recognized as one of those permissible alternative causes of action”).

        The cases BMW NA cites31 are also distinguishable as they involve circumstances where an

express warranty or contract completely governed the claims at issue.32 Here, the warranty extension



29
  See also In re MyFord Touch Consumer Litig., 46 F. Supp. 3d 936, 965-67 (N.D.Cal. 2014) (in
Florida, economic loss doctrine does not bar fraudulent inducement claims or in those instances where
the defendant violated an extrinsic duty); Smith v. Citimortgage, Inc., No. 15-cv-7629-JLL, 2015 WL
12734793, at *7 (D.N.J. Dec. 22, 2015) (“fraud claims that are extrinsic to the underlying contract such
as for fraudulent inducement are not” precluded by economic loss doctrine under New Jersey law).
30
     Ironically BMW does not concede the viability of those legal claims.
31
   BMW’s use of a footnote with a voluminous string-cite employed repeatedly in this brief is highly
disfavored. See In re Flash Memory Antitrust Litigation, 643 F. Supp. 2d 1133, 1163 (N.D. Cal. 2009)
(“Instead of analyzing the laws of each state separately, Defendants relegate their discussion to a string
cite contained in a footnote in their moving papers. The lack of individualized analysis by the parties is
unhelpful. . . . The Court declines to independently address the viability of Plaintiffs' unjust
enrichment claims with respect to the aforementioned states.”).
32
      For example, see defendants out-of-circuit opinions: Carter v. L’Oreal USA, Inc., 2017 WL
3891666, at *3 (S.D. Ala. Sept. 6, 2017)(express warranty was not disputed and applied to all of
plaintiffs’ claims); Goldemburg v. J&J Consumer Cos., 8 F. Supp. 3d 467, 483-84 (S.D.N.Y. 2014)
(existence of express warranty was not disputed); W. Ridge Grp., LLC v. First Trust Co. of Onaga, 414
Fed. App’x 112 (10th Cir. 2011) (subject of the claim was a loan agreement); Aronstein v. Mass. Mut.
Life Ins. Co., 2016 WL 1626835, at *5 (D. Mass. Apr. 22, 2016) (contract governed all issues, and
court specifically distinguished cases that “involved disputes over how to distribute payments that
were not contemplated by the parties agreements”); U.S. Bank N.A. v. Sofield, 2017 WL 2569740 at *4
(W.D.N.C. June 13, 2017) (escrow Agreement covered all of plaintiff’s claims).


                                                   29
Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 41 of 47 PageID: 594


did not encompass all components of the primary and secondary chain assemblies alleged to be

defective. CAC ¶ 9.

       BMW’s second argument that New Jersey and California law require a direct transaction is

groundless as neither state has a privity requirement to plead unjust enrichment. See VW Timing Chain

Litig., supra, at *22 (sustaining unjust enrichment claim at motion to dismiss stage and noting

defendant manufacturer received a benefit at plaintiffs’ expense when they sold vehicles with defective

timing chains); Stewart v. Beam Global Spirits & Wine, Inc., 877 F. Supp. 2d 192, 200 (D.N.J. 2012)

(manufacturer that advertises its products to consumers has a sufficiently “direct relationship” with

consumers to support an unjust enrichment claim, even if the consumer purchases the product from an

intermediate retailer); see also In re K-Dur Antitrust Litigation at 544. (“Defendants’ related argument

that an unjust enrichment claim requires an allegation that Plaintiffs dealt directly with Defendants, is

also without merit.”); Dewey v. Volkswagen AG, supra, at 528-29 (D.N.J. 2008) (denying motion to

dismiss unjust enrichment claims asserted by consumers against car manufacturer).33

       California law holds the same. See Shersher v. Superior Court, 154 Cal.App.4th 1491

(Cal.Ct.App. 2007) (“To confer a benefit, it is not essential that money be paid directly to the recipient

by the party seeking restitution.”). BMW misled consumers about their class vehicles to generate

sales. (CAC ¶ 110-112).       New Jersey and California plaintiffs plead that they purchased their

respective vehicles as a result of those omissions and misrepresentations, and, by doing so, conferred a

direct benefit on BMW resulting in a direct financial loss. Id. ¶¶ 114, 427-433.

       It is premature to make the factual determination of whether plaintiffs' purchase from certain

BMW dealers conferred a sufficiently direct benefit upon defendants on a motion to dismiss. See

Contino v. BMW of N. Am., LLC, 2008 WL 2940515, at *2-3 (D.N.J. July 29, 2008) (“Defendant


33
   BMW’s heavy reliance on Maniscalo v. Brother Int'l. Corp., 627 F. Supp. 2d 494 (D.N.J. 2009) is
misplaced because - unlike the plaintiffs here – no contention that the manufacturer made any
representations directly to consumers regarding the MFC Machine that caused him to purchase the
device. Maniscalo also predates the holding in Stewart v. Beam Global Spirits & Wine.
                                                   30
Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 42 of 47 PageID: 595


asserts that the connection between [plaintiff’s] purchase of the vehicle from an unauthorized dealer to

Defendant creates too remote a connection for recovery in an unjust enrichment claim. Still, Plaintiff

has met his burden to plead unjust enrichment and any questions of remoteness of connection is an

issue for the finder of fact.”) (emphasis added); Morano v. BMW of N. Am., LLC, 2013 U.S. Dist.

LEXIS 28099, at *2-3 (D.N.J. Mar. 1, 2013) (rejecting BMW's argument of lack of privity with

consumers as BMW NA makes sales or leases to consumers ).

       Finally, Illinois recognizes a separate cause of action for unjust enrichment. BMW NA’s

citation to Cleary v. Philip Morris, Inc., 656 F.3d 511 (7th Cir. 2011) is misleading. In that case, the

court held that a claim for unjust enrichment does not need be tied to a separate claim. See Cleary, 656

F.3d at 516 (“The Illinois Supreme Court appears to recognize unjust enrichment as an independent

cause of action.”). Siegel v. Shell Oil, 612 F.3d 932 (7th Cir. 2010) shows, ample legal authority exists

for unjust enrichment claims in Illinois. Even assuming, arguendo, that the unjust enrichment claim

depends on the other fraud based claim, it is, nevertheless, viable because the fraud-based claims are

viable. As such, plaintiffs’ unjust enrich claim should not be dismissed.

       Accordingly, the unjust enrichment claims should be sustained.

POINT VIII: PLAINTIFFS ASSERT VALID CLAIMS FOR
            DECLARATORY AND INJUNCTIVE RELIEF

       The declaratory judgment claim seeks to ensure that owners of class vehicles who have not yet

had their defective chain assemblies fail, will be entitled to declaratory relief as to their rights, as the

defendants have expressly refused to act in a manner which recognizes their rights if a finding of

unconscionability of the warranty or violation under the consumer fraud act occurs. As the defendant

acknowledges, virtually all of the consumer protection statutes in play here afford plaintiff declaratory

and injunctive relief. Def.’s Mem. at 36. There is no reason to reject that claim at this juncture. In re

K-Dur Antitrust Litigation at 544 (pleading in the alternative permissible).




                                                    31
Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 43 of 47 PageID: 596


       In addition, the defendant raises the issue with regard to Zinn and Richardson in their

arguments in Point IX (B) of Def’s. Mem. As such, the argument is addressed further herein below at

section IX (B), infra.

POINT IX:      BMW’S ARGUMENTS ON VARIOUS CLAIMS
               MUST BE REJECTED AT MOTION TO DISMISS STAGE

      A. The Claims Of Gelis, Henderson, And Lash Should Survive
       BMW NA contends that Gelis’ claim should be dismissed because he asserts an out of pocket

loss of $500 for alternative transportation while the BMW warranty excludes consequential damages.

However, BMW NA ignores Gelis’ additional claims which arise under the NJCFA in Count IV or

under the Illinois Consumer Fraud and Deceptive Business Practices Act in Count V, both of which

provide relief where there is ascertainable loss, as alleged by Gelis. CAC ¶¶ 13(d), 174, 197. These

out of pocket losses constitute damages recoverable to Gelis against BMW for its negligent

misrepresentation as set forth in Count XX. See, Falk v. Nissan N.A., Inc., 17-cv-04871-HSG, 2018

WL 2234303 at *8 (N.D.Ca. May 16, 2018) (finding plaintiff suffered a cognizable injury under

consumer protection act based on allegations “she traveled multiple times for failed repairs of her

vehicle, and her claim that but for defendant’s deception, she would have paid less for her vehicle.”).

       BMW also claims that Henderson and Lash should be precluded from relief because they do

not allege that they were denied recovery under the extended warranty program. However, it was not

until December 2017 (in apparent direct response to the instant litigation) that BMW announced a

warranty extension to 7 year / 70,000 miles for certain primary and secondary chain components.

Additionally, this warranty extension did not encompass all components of the primary and secondary

chain assemblies alleged to be defective in this complaint particularly including engine failures caused

by abrasion of the primary chain guides resulting in engine oil starvation. CAC ¶¶ 9, 108. Henderson

alleges her vehicle experienced the defect in October 2017 and Lash experienced the defect in August

2017, both before the warranty was extended. It is, at best, a question of fact as to when the repairs on


                                                   32
Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 44 of 47 PageID: 597


these two vehicles were made.       Hence, this extended warranty did not exist when the defect

manifested. Further, in Fiberglass Component Prod., Inc. v. Reichhold Chemicals, Inc., 983 F. Supp.

948, 954 (D. Colo. 1997), relied upon by BMW, the court held that whether timely notice of a breach

was reasonably given was a question for the jury and denied summary judgment. Clearly, this issue is

not appropriately resolved on a motion to dismiss. See Francis E. Parker Mem'l Home, Inc. v.

Georgia-Pac. LLC, 945 F. Supp. 2d 543, 557 (D.N.J. 2013) distinguishing Green v. Green Mountain

Coffee Roasters, Inc., 279 F.R.D. 275 (D.N.J. 2011), and holding that where plaintiffs pursued a

warranty claim which failed to provide relief there is no bar to pursuing a consumer fraud claim under

state statutory law.

         Finally, even if class members were reimbursed every cent they spent they would still be

suffering an ascertainable loss since they continue to own a vehicle with a troublesome engine with

diminished resale value. CAC ¶¶ 8, 98.

     B. The Claims Of Zinn and Richardson Should Not Be Dismissed34

        Count XXII asserts claims for declaratory and injunctive relief on behalf of a subclass

represented by Richardson and Zinn. As set forth in CAC ¶ 440, the consumer fraud statutes of NJ and

all other states provide for the right to seek such relief for consumer fraud violations. Although Zinn

and Richardson have not yet experienced the chain defect, it frequently manifests itself after the

expiration of the warranty period. Those who purchased a BMW with an N20/N26 engine during the

relevant time period did not get what they bargained for. The complaint properly asserts these rights at

CAC ¶ 98:

               Even if class vehicles do not fail entirely, class vehicle owners have
               sustained an ascertainable financial loss, including but not limited to
               increased maintenance costs for primary and secondary chain assemblies
               inspections and/or premature replacement of the primary and secondary
34
    While BMW argues in Point Eight that plaintiffs’ claims for injunctive and declaratory relief are
moot and duplicative, the fact that BMW argues that owners who have not yet experienced a chain
failure cannot pursue a claim shows that pursuit of injunctive and declaratory relief is very much a
viable claim.
                                                  33
Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 45 of 47 PageID: 598


               chain assemblies and/or substantially reduced engine performance.
               Individuals who own or have owned class vehicles also sustained
               diminution of the resale value of their class vehicles since knowledge of
               problems with class vehicles became public information after the time of
               their purchase.

      Accordingly, the claims of Gelis, Henderson, Lash, Zinn and Richardson should not be

dismissed.

   B. Malske Has Adequately Stated A Claim Under Wisconsin Deceptive Trade Practices Act

       Contrary to BMW’s assertions, the complaint contains allegations in Count XII that go beyond

omissions.   More specifically, plaintiffs allege untrue, deceptive, and misleading representations

regarding the superior nature of class vehicles and their non-defective nature. These representations

were material to the reasonable consumer and a significant factor involved in making the purchasing

decision. As such, defendants’ untrue, deceptive, and misleading representations materially induced a

pecuniary loss to Malske and members of the Wisconsin subclass. Defendants made these untrue,

deceptive and misleading representations to the public prior to the existence of any relationship

between Malske and defendants. CAC ¶ 322.

       Malske’s Wisconsin DTPA claim is adequately stated.

   C. Stovall’s Claim Under The Alabama Deceptive Trade Practices Act Should Not Be
      Dismissed

       It would be premature to dismiss either the common law or the Alabama Deceptive Trade

Practices Act (hereinafter “ADTPA”) claim on a motion to dismiss. In re Gen. Motors LLC Ignition

Switch Litig., 257 F. Supp. 3d 372, 405 (S.D.N.Y. 2017) (court acknowledges election of remedy

provision in Alabama statute but finds better view is to permit pleading all causes of action under Fed.

R. Civ. P. 8(d)(3) citing Barcal v. EMD Serono, Inc., 2016 WL 1086028, at *5 (N.D. Ala. Mar. 21,

2016) (denying a motion to dismiss an ADPTA claim on the ground that while the ADPTA's savings

clause would preclude ultimately obtaining relief under both the ADPTA and common law claims,

plaintiff permitted to plead both); Collins v. Davol, Inc., 56 F.Supp.3d 1222, 1227 n.2 (N.D. Ala. 2014)


                                                  34
Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 46 of 47 PageID: 599


(same).     Further, Stovall is not precluded from pursuing a claim for class relief pursuant to the

reasoning of Lisk v. Lumber One Wood Preserving, LLC, 792 F. 3d 1331 (llth Cir. 2015), which relied

upon Shady Grove Orthopedic Associates, P.A. v. Allstate Insurance Co., 559 U.S. 393, 130 S. Ct.

1431, 176 L. Ed. 2d 311 (2010) in holding that Fed. R. Civ. P. 23 allows individual litigants to assert

class claims under ADPTA, notwithstanding the prohibition in the statute. In Carter v. L'Oreal USA,

Inc., 2017 WL 4479368, at *2 (S.D. Ala. Sept. 21, 2017), report and recommendation adopted, 2017

WL 4478008 (S.D. Ala. Oct. 6, 2017), the court rejected defendant’s argument that a 2016 amendment

to Ala. Code 8-19-10 asserting that the class prohibition was “substantive” would require a different

result.

          Thus, plaintiff’s claim under the Alabama ADPTA must be sustained.

                                           CONCLUSION

          Since the complaint satisfies pleading requirements of both Fed. R. Civ. P. Rule 8(a)(2),

Twombly, Iqbal, and Rule 9(b), the defendants’ motion to dismiss the complaint should be denied in its

entirety.    As an additional alternative, if the Court determines that the complaint allegations are

deficient, leave to further amend the complaint should be granted pursuant to Fed. R. Civ. P. 15(a)(2)

since there has been no demonstration that further amendment would be futile or prejudicial.

Dated : June 7, 2018

                                             /s/ Gary S. Graifman
                                             Gary S. Graifman, Esq.
                                             Jay I. Brody, Esq.
                                             KANTROWITZ, GOLDHAMER
                                             & GRAIFMAN, P.C.
                                             210 Summit Avenue
                                             Montvale, New Jersey 07645
                                             Tel: (201) 391-7000

                                             THOMAS P. SOBRAN, P.C.
                                             7 Evergreen Lane
                                             Hingham, MA 02043
                                             Tel: (781) 741-6075
                                             (admitted pro hac vice)


                                                  35
Case 2:17-cv-07386-SDW-CLW Document 34 Filed 06/07/18 Page 47 of 47 PageID: 600




                                  Bruce H. Nagel, Esq.
                                  Randee M. Matloff, Esq.
                                  NAGEL RICE, LLP
                                  103 Eisenhower Parkway
                                  Roseland, New Jersey 07068
                                  973-618-0400
                                  bnagel@nagelrice.com


                                  Attorneys for Plaintiffs




                                       36
